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                                                         (Mt.!’)! R I t): CON ITht AM’l


          This matter ha hut been opened to ñe (‘nun h> Paul i lishman. United ctates \ttoincy

  for the District of New Jerse) (Jonathan A. Romanko. Assistant U.S. Attorney, appearing).

  and defendant JACKI YN RL
                         flIOWI 1/, a ka “JackiC (Tavrencc 0. ‘elk. 1sq.. appearing).
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  for an ordcr gmnting a continuance of the proceedings in the abo c-captioned manor: and six

  continuances having prc iousi been granted: tnd the delbndant being aare that she has the

  rglit to ha’ e the matter presented U’ a (muud Jun within thirty (30; dii s of the date of her arrest

  pursuant to I ide 18 U.S.C. § 3161: and the defend mt throQh her ittome> ha’ ing aived such

  rights and consented to the continuance: and for good and sufficient cause shown.

         I r iS 1111! FiNDING 01: II11S COL RT that this action should be continued Ihr the

 Ibilow hug reasonr

                 1.   Plea negotiations currently are in progress. and both the I. nited States and the

         defendant desire additional time to enter a plea in Court, which ould thereby render trial

         of this matter unnccc.ssary

                2.    Defendant ha onsentd to ‘he afortmi.nti )ncd ontinuancc.

                 .    I he giant o ‘a e ‘ntinuanc. iill likei consene udL ii rest uuees.

                3.    1’ irsu’nt 5 1 ide 18 U i’;. L rital Siats Cod,. Sectin ? l61li,’7) A,. Vm

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        public and t%. dfenu unts ii .e ‘ped
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